65 F.3d 166
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Linwood Earl HODGES, Plaintiff-Appellant,v.Teresa ATWATER;  Genya Monroe;  Lynn Phillips, Defendants-Appellees.
    No. 95-6777.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  July 25, 1995.Decided:  September 8, 1995.
    
      Linwood Earl Hodges, Appellant Pro Se.
      Before WILKINS, NIEMEYER, and MICHAEL, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we deny leave to proceed in forma pauperis and dismiss the appeal on the reasoning of the district court.  Hodges v. Atwater, No. CA-95-364-5-BO (E.D.N.C. May 3, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    